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 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
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12   Ms. L., et al.,                               Case No. 18-cv-00428-DMS-AHG
                                                   Date Filed: October 16, 2023
13                      Petitioners-Plaintiffs,
     v.
14                                                 JOINT MOTION FOR
     U.S. Immigration and Customs Enforcement      PRELIMINARY APPROVAL OF
15   (“ICE”), et al.                               CLASS ACTION SETTLEMENT,
                                                   AND TO CERTIFY
16                                                 SETTLEMENT CLASS
                         Respondents-Defendants.
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 1                                     INTRODUCTION
 2         The parties hereby jointly move under Federal Rule of Civil Procedure 23 for
 3   preliminary approval of a class action settlement in this case (“Settlement Agreement”),
 4   and to certify the proposed Ms. L. Settlement Class.1
 5         After over two years of intensive, arms-length negotiations, the parties have
 6   agreed on the substantive terms of the relief that will be provided to Ms. L. Settlement
 7   Class members who were separated from their children. In addition, the parties have
 8   agreed on extensive procedures and criteria governing separations that will take place
 9   after the Effective Date of the Settlement Agreement, as well as processes and
10   information-sharing systems between and among the various agencies involved in
11   family separations. The settlement is limited to injunctive relief and does not include
12   money damages.
13         The parties have also participated in discussions to clarify and modify the scope
14   of the Ms. L. Settlement Class to include additional families and ensure that they are
15   also provided relief. Among other issues, the class definition modifications clarify:
16            • the scope of exclusions on the basis of timeframe of separation,
17                communicable disease, medical reasons, criminal history, or abuse
18                allegations;
19            • the class definition with respect to families where the child was separated
20                and kept in DHS, rather than ORR, custody.
21         The proposed modifications also incorporate several groups of families who were
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      Plaintiffs are withdrawing Ms. L. as a named Plaintiff and will move forward with
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     Ms. C. as the sole lead named Plaintiff. Plaintiffs will file a formal motion
24   withdrawing Ms. L as a named Plaintiff should the Court wish. Although the caption
25   of the case may therefore need to be amended, the parties agree it makes sense to
     continue to refer to the settlement agreement as the “Ms. L. Settlement.” This is how
26   the case is widely known, in the United States and abroad. Maintaining the same
27   name will hopefully avoid any confusion among class members, attorneys, and other
     interested parties, related to a formal change in the caption name.
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 1   not previously part of the Ms. L. Class, including families separated where the adult was
 2   the child’s legal guardian, rather than parent; and families separated where the child was
 3   a U.S. citizen. Finally, the proposal includes a review process for any parents that may
 4   be excluded from the Class, whereby Defendants will review relevant information
 5   concerning Class membership, afford parents an opportunity to respond to any adverse
 6   allegations, and present any disputes to a neutral adjudicator.
 7         The parties respectfully request that the Court grant preliminary approval of the
 8   Settlement Agreement and the proposed Settlement Class; approve the proposed Notice
 9   Plan; and set a schedule for a Fairness Hearing and final approval of the Settlement.
10   The parties have proposed a schedule for further proceedings in the accompanying
11   proposed order.
12                                       BACKGROUND
13         The history of this case is set forth in numerous orders and filings in this case;
14   The motion will therefore highlight only a few salient points.
15         On June 26, 2018, the Court issued the classwide preliminary injunction
16   prohibiting Defendants from separating class members absent a determination that the
17   parent is unfit or presents a danger to the child, and taking into account issues of
18   criminality and communicable disease. See ECF No. 82 at 17; Dkt. 456; Ms. L v. ICE,
19   403 F. Supp. 3d 853, 856 (S.D. Cal. 2019).
20         The parties subsequently engaged in extensive work to identify, locate, and
21   contact separated families (including those parents deported to their home countries
22   without their children). See, e.g., Dkts. 597, 598, 631, 632. A number of those families
23   were reunified based on prior orders of the Court.
24         In February 2021, President Biden established the Family Reunification Task
25   Force, comprised of representatives from various federal agencies, including the
26   Defendants in this case. See Executive Order on the Establishment of the Interagency
27   Task Force on the Reunification of Families (Feb. 2, 2021) (“Executive Order”).
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 1   Plaintiffs and Defendants have done extensive work to reunify families consistent with
 2   this Executive Order and more recent orders entered by the Court at the request of the
 3   parties, but some families unfortunately still remain separated. Accordingly, the
 4   reunification work remains ongoing.
 5         In March 2021, the parties notified the Court that they had begun settlement
 6   negotiations for the purpose of resolving all pending issues in the case, including any
 7   potential modifications to the scope of the class definition. Dkt. 579.
 8         Since that time, the parties have engaged in extensive, wide-ranging, and arms-
 9   length negotiations to settle this case. The negotiations have involved multiple
10   government agencies. Additionally, the parties have consulted with numerous
11   stakeholders and advocates who work with separated families and children. The parties
12   have also had ongoing settlement conferences before the Magistrate Judges assigned to
13   this case.
14         The parties have now concluded those negotiations, and reached what they agree
15   are fair settlement terms that will provide significant relief to separated families.
16   Among other things, the settlement will provide:
17       • Relief designed to reunify separated families and help them reestablish
18          themselves after reunification, including housing and medical assistance, parole,
19          work authorization, and (in some cases) travel assistance from abroad;
20       • The facilitation of Settlement Class members’ asylum applications, which
21          (among other things) will include USCIS guidance concerning the asylum claims
22          of separated families and a review process for their applications involving
23          specially-trained asylum officers;
24       • Programs intended to facilitate legal help for class members, in addition to
25          outreach programs to contact those who may not be aware of their rights and or
26          reunification options.
27   As noted above, the Settlement also includes certain categories of separated families
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 1   that were previously excluded under this Court’s class certification orders, but who
 2   were separated under similar circumstances to those of existing class members.
 3         In addition to providing meaningful remedies for Ms. L. Settlement Class
 4   members who were previously separated, the Settlement would establish detailed
 5   criteria and procedures governing the future separation and reunification of families
 6   apprehended at the border. Among other elements, the Settlement includes provisions
 7   (1) setting forth the limited permissible circumstances under which families may be
 8   separated, (2) requiring communication between separated parents and children; (3)
 9   establishing information-sharing systems and protocols among agencies; and (4)
10   ensuring that Defendants provide separated parents with information sufficient to
11   understand the reasons for their separations.
12         Numerous sections of the Settlement reflect and adopt the Court’s past holdings
13   and findings. See, e.g., V.K.3.g (referring to “streamlined reunification procedures”);
14   V.K.3.d (requirements before any separation based on doubts that an adult is a child’s
15   parent).
16                                         ARGUMENT
17         I.     The Court Should Grant Preliminary Approval of the Proposed
18                Settlement.
19         The Court should preliminarily approve the Agreement. When reviewing a
20   settlement for preliminary approval, the Court may consider the same factors that it will
21   balance at that Fairness Hearing, see, e.g., Vasquez v. Coast Valley Roofing, Inc., 670 F.
22   Supp. 2d 1114, 1124-26 (E.D. Cal. 2009), which include:
23         (1) the strength of the plaintiffs' case; (2) the risk, expense, complexity, and likely
24         duration of further litigation; (3) the risk of maintaining class action status
           throughout the trial; (4) the amount offered in settlement; (5) the . . . stage of the
25         proceedings; (6) the experience and views of counsel; (7) the presence of a
           governmental participant; and (8) the reaction of the class members to the
26         proposed settlement.
27   Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)
28         The Court should presume the fairness of arms-length settlements reached by


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 1   experienced counsel. See Rodriguez v. West Publ’g Corp., 563 F.3d 948, 965 (9th Cir.
 2   2009) (“We put a good deal of stock in the product of an arms-length, non-collusive,
 3   negotiated resolution.”). “That the agreement was entered following litigation and
 4   negotiations facilitated by such counsel provides further support for approval.” Chan v.
 5   Sutter Health Sacramento Sierra Region, No. LACV1502004JAKAGRX, 2017 WL
 6   819903, at *5 (C.D. Cal. Feb. 14, 2017). “Additionally, there is a strong judicial policy
 7   that favors settlements, particularly where complex class action litigation is concerned.”
 8   In re Syncor ERISA Litig., 516 F.3d 1095, 1101 (9th Cir. 2008).
 9                A.       The Agreement Provides the Class with Substantial Benefits and
10                         Avoids the Risk and Expense of Further Litigation.
11         As set forth above, and as the Settlement Agreement itself demonstrates on its
12   face, the Settlement provides numerous significant benefits to Ms. L. Settlement Class
13   members. The Settlement would afford Ms. L. Settlement Class members a range of
14   remedies, all designed to reunify separated families in the United States, as well as
15   employment authorization, housing, and medical benefits. See, e.g., Dkts. 597, 631.
16   The Settlement also provides certain facilitation of Ms. L. Settlement Class members’
17   asylum claims, to ensure that Defendants account for separation in the evaluation of
18   their legal claims.
19         The Settlement Agreement also establishes detailed procedures governing the
20   separation and reunification of families apprehended at the border. Section V has
21   substantive standards, see, e.g., V.C., V.K.3.d, and procedural protections including
22   requirements for informing the parent of the reason for separation, with facts specific to
23   the separated individual to explain the separation, V.K.1.b.i, provisions for promptly
24   sharing the fact a child was separated with Legal Service providers for the child’s
25   shelter, V.K.2.c., and to quickly put the child and parent in regular contact, V.K.4.a.vii.
26   Defendants also agree to ongoing reporting about any separations for three years after
27   the Settlement’s approval. The Settlement also will avoid significant and needless
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 1   expense. The parties have vigorously litigated this matter since early 2018, including
 2   multiple rounds of enforcement proceedings, various expansions of the class definition,
 3   and numerous appearances before this Court at status conferences to discuss the parties’
 4   efforts to identify separated families and facilitate their reunification. The parties
 5   believe that further litigation in this case is unwarranted, especially given that the
 6   government has established the Family Reunification Task Force to reunify separated
 7   families.
 8         Finally, the parties agree that the Class would not benefit from any further delay.
 9   The parties have proposed a notice plan to ensure that Ms. L. Settlement Class members
10   are informed of their rights under this Settlement, which will build on the wide-ranging
11   outreach and notice efforts that the parties have already engaged in with respect to the
12   existing class. Plaintiffs’ counsel is already in regular contact with numerous nonprofit
13   organizations, advocacy groups, and lawyers representing separated families, which will
14   significantly reduce the burden and time of providing notice in this case. 2
15                B.     The Agreement Is the Product of Extended Arms-Length
16                       Negotiations Between Well-Informed and Experienced Counsel.
17         The Settlement is the product of extensive negotiation between Counsel for both
18   parties. Prior to those negotiations, the parties vigorously contested this case for several
19   years, litigating a motion for a preliminary injunction, multiple rounds of enforcement
20   proceedings, and various disputes concerning the scope of the Class. The Parties have
21   also negotiated over and engaged in wide-ranging efforts to find and reunify separated
22   families.
23         The parties negotiated the Agreement over the course of two-and-a-half years
24   since the spring of 2021, including countless settlement conferences and informal
25   meetings between the parties, and involving numerous stakeholders inside and outside
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27   2
      The proposed Settlement provides for separate negotiation and resolution of
28   Plaintiffs’ attorneys’ fees, which the parties hope to resolve via settlement.

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 1   the government. The parties’ substantial litigation and negotiations over these issues
 2   further supports preliminary approval of the Agreement. See Hanlon v. Chrysler Corp.,
 3   150 F.3d 1011, 1027 (9th Cir. 1998) (affirming approval of settlement after finding “no
 4   evidence to suggest that the settlement was negotiated in haste or in the absence of
 5   information illuminating the value of plaintiffs’ claims”).
 6         Counsel for both parties also have deep experience with similar actions, which
 7   further supports preliminary approval. Plaintiffs’ counsel has substantial experience
 8   with complex immigration litigation, class actions, and civil rights actions, and has
 9   unique expertise in litigation on behalf of this Class in particular. And of course,
10   Defendants’ lawyers are tasked specifically with defending lawsuits raising
11   constitutional and statutory claims related to noncitizens in government custody. See 28
12   C.F.R. § 0.45(k). The parties agree that the proposed Settlement is fair, just, and
13   reasonable, and the opinion of the parties’ experienced counsel “should be afforded
14   substantial consideration” in reviewing this Agreement. Chan, 2017 WL 819903, at *5.
15         For all these reasons, the Court should grant preliminary approval of this
16   Settlement.
17         II.     The Court Should Grant Certification of the Settlement Class.
18         “An order that grants or denies class certification may be altered or amended
19   before final judgment.” Fed. R. Civ. P. 23(c)(1)(C). Rule 23 gives courts “broad
20   discretion to determine whether a class should be certified, and to revisit that
21   certification throughout the legal proceedings before the court.” United Steel v.
22   ConocoPhillips Co., 593 F.3d 802, 810 (9th Cir.2010) (internal quotation marks
23   omitted). “In considering the appropriateness of [modification or] decertification, the
24   standard of review is the same as a motion for class certification: whether the Rule 23
25   requirements are met.” Ms. L. v. ICE, 330 F.R.D. 284, 287 (S.D. Cal. 2019) (citations
26   and quotation marks omitted).
27                 A.    Numerosity.
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 1         As this Court has already recognized, and as extensive evidence in this case and
 2   other investigations has shown, thousands of families were separated under practices
 3   that this Court has found unlawful, and the proposed settlement would expand both the
 4   time period and covered individuals in the class. See, e.g., Ms. L., 331 F.R.D. at 536.
 5   Numerosity is satisfied here because this Court has previously found the existing Class
 6   sufficiently numerous, and the proposed Ms. L. Settlement Class will be even larger.
 7                B.     Commonality.
 8         To satisfy commonality, there must be “questions of law or fact common to the
 9   class.” Fed. R. Civ. P. 23(a)(2). A plaintiff “need not show . . . that every question in
10   the case, or even a preponderance of questions, is capable of class wide resolution.”
11   Parsons v. Ryan, 754 F.3d 657, 675 (9th Cir. 2014) (quotation marks omitted). One
12   shared legal issue can be sufficient. See, e.g., Abdullah v. U.S. Sec. Associates, Inc.,
13   731 F.3d 952, 957 (9th Cir. 2013) (“Commonality does not require that every question
14   of law or fact must be common to the class; all that Rule 23(a)(2) requires is ‘a single
15   significant question of law or fact.”) (citation and quotation marks omitted); Walters,
16   145 F.3d at 1046 (“What makes the plaintiffs’ claims suitable for a class action is the
17   common allegation that the INS’s procedures provide insufficient notice.”).
18         Even “[w]here the circumstances of each particular class member vary but retain
19   a common core of factual or legal issues with the rest of the class, commonality exists.”
20   Evon v. Law Offices of Sidney Mickell, 688 F.3d 1015, 1029 (9th Cir. 2012) (quotation
21   marks omitted); see also Walters, 145 F.3d at 1046 (“Differences among the class
22   members with respect to the merits of their actual document fraud cases, however, are
23   simply insufficient to defeat the propriety of class certification.”). The commonality
24   standard is even more liberal in a civil rights suit like this one, in which “the lawsuit
25   challenges a system-wide practice or policy that affects all of the putative class
26   members.” Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001).
27         This Court has already expanded the Ms. L. Class after finding that the expansion
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 1   satisfied Rule 23’s commonality requirements. See 330 F.R.D. at 289; Dkt. 684.
 2   Likewise, this Court should find that the proposed Ms. L. Settlement Class satisfies
 3   commonality, notwithstanding any minor variations in the Class Members’ individual
 4   factual circumstances. See, e.g., Inland Empire-Immigrant Youth Collective v. Nielsen,
 5   No. EDCV172048PSGSHKX, 2018 WL 1061408, at *9 (C.D. Cal. Feb. 26, 2018)
 6   (rejecting contention that differences in class of DACA recipients precluded class
 7   certification, despite “[w]hatever factual dissimilarities that may exist among the
 8   proposed class members”); Lyon v. United States Immigr. & Customs Enf’t, 300 F.R.D.
 9   628, 642 (N.D. Cal. 2014) (“The fact that the precise practices among the three facilities
10   may vary does not negate the application of a constitutional floor equally applicable to
11   all facilities.”).
12                  C.    Typicality.
13          For the same reasons, the modified Class also satisfies typicality. Rule 23(a)(3)
14   requires that “the claims or defenses of the representative parties [be] typical of the
15   claims or defenses of the class.” The purpose of this requirement is to “assure that the
16   interest of the named representative aligns with the interests of the class” as a whole.
17   Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992). “Under the rule’s
18   permissive standards, representative claims are ‘typical’ if they are reasonably
19   coextensive with those of the absent class members.” Parsons, 754 F.3d at 685
20   (quoting Hanlon, 150 F.3d at 1020). “The test of typicality is ‘whether other members
21   have the same or similar injury, whether the action is based on conduct which is not
22   unique to the named plaintiffs, and whether other class members have been injured by
23   the same course of conduct.’” Id. (citation omitted).
24          Plaintiffs’ claims are typical of the claims of the proposed Ms. L. Settlement
25   Class. Each parent or child in the proposed Ms. L. Settlement Class was separated by
26   federal officials and alleges the same government practices, affecting the same
27   constitutional and statutory rights. As the Ninth Circuit has explained, “[i]t does not
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 1   matter that the named plaintiffs may have in the past suffered varying injuries or that
 2   they may currently have different health care needs; Rule 23(a)(3) requires only that
 3   their claims be ‘typical’ of the class, not that they be identically positioned to each other
 4   or to every class member.” Parsons, 754 F.3d at 686.
 5          With respect to separated families, this Court has observed, “[b]y definition, each
 6   member of the proposed class will have been subject to this same practice.” Ms. L., 331
 7   F.R.D. at 539. The same is true of the proposed Ms. L. Settlement Class. Therefore,
 8   typicality is satisfied here.
 9                 D.     Adequacy.
10          The adequacy inquiry focuses on whether the named Plaintiffs and Class Counsel
11   would protect the interests of absent Class members, and “a sharing of interests between
12   representatives and absentees.” Walters, 145 F.3d at 1046. Where there is such a
13   sharing of interests, any purported differences between the existing Class
14   representatives and members of the Class “have no bearing on the class representatives’
15   abilities to pursue the class claims vigorously and represent the interests of the absentee
16   class members.” Id.
17          The named Plaintiffs and the proposed Class members all allege family
18   separation by federal officials, and assert the same legal claims that they were
19   unlawfully separated under the Constitution and other laws. Moreover, this Court has
20   already twice found that any minor factual variations among the Class do not undermine
21   class certification. See Ms. L., 330 F.R.D. at 290. The same considerations support a
22   finding of adequacy here. See also Dkt. 684.Similarly, Class Counsel in this case has
23   spent over six years overseeing both heavy litigation as well as extensive and complex
24   settlement negotiations in this case. And for over two years, Class Counsel has led
25   extensive, arms-length negotiations with Defendants to reach a global resolution of this
26   matter. Thus, there is good reason to conclude that Class Counsel will continue to
27   vigorously pursue the interests of the Class.
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 1                E.     Rule 23(b)(2).
 2         Again, this Court has already found that the existing Class satisfies Rule 23(b)(2),
 3   for reasons that apply just as much to the proposed Ms. L. Settlement Class. See Ms. L.,
 4   330 F.R.D. at 291; Ms. L., 331 F.R.D. at 541. As the Ninth Circuit has repeatedly
 5   emphasized, “the primary role of [Rule 23(b)(2)] has always been the certification of
 6   civil rights class actions,” as is the case here. Parsons, 754 F.3d at 686-87.
 7         As is common in other civil rights actions, the substantive settlement terms will
 8   eventually provide remedies “generally applicable to the class as a whole.” Id. at 688.
 9         Thus, the proposed Ms. L. Settlement Class members here “seek uniform
10   injunctive or declaratory relief from policies or practices generally applicable to the
11   class as a whole.” Parsons, 754 F.3d at 688 (quoting Fed. R. Civ. P. 23(b)(2)). Such an
12   inquiry “does not require an examination of the viability or bases of the class members'
13   claims for relief, does not require that the issues common to the class satisfy a Rule
14   23(b)(3)-like predominance test, and does not require a finding that all members of the
15   class have suffered identical injuries.” Id.
16         III.   The Court Should Approve the Parties’ Notice Plan.
17         Under Federal Rule of Civil Procedure 23(e)(1), the Court should “direct notice
18   in a reasonable manner to all class members who would be bound” by the proposed
19   settlement. Notice is satisfactory if it “generally describes the terms of the settlement in
20   sufficient detail to alert those with adverse viewpoints to investigate and come forward
21   and be heard.” Churchill Vill., 361 F.3d at 575. The Notice Plan here easily fulfills
22   these requirements.
23         Among other things, the Class Notice will be distributed by posting on the
24   websites of Defendants and the ACLU; distribution via a broad network of nonprofit
25   organizations and advocacy groups who work with numerous clients or members who
26   have experienced family separation; and distribution to Plaintiffs’ extensive list of
27   lawyers who represent separated families.
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 1         The Notice will include summary information regarding the various provisions of
 2   the Settlement Agreement, as well as links to websites containing the full Agreement
 3   terms. “Courts have routinely held that notice by publication in a periodical, on a
 4   website, or even at an appropriate physical location is sufficient to satisfy due process.”
 5   Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1129 (9th Cir. 2017) (“when individual
 6   notice by mail is ‘not possible, courts may use alternative means such as notice through
 7   third parties.’” (quoting Mullins v. Direct Digital, LLC, 795 F.3d 654, 665 (7th Cir.
 8   2015)).
 9         Upon final approval of the Settlement Agreement, the parties will work to ensure
10   that the Ms. L. Settlement Class members receive notice of their rights, including via a
11   third-party-managed outreach campaign to contact Ms. L. Settlement Class members
12   both in the United States and abroad, see Settlement Agreement, Section VI.A.2.c.iv.
13                                        CONCLUSION
14         For all these reasons, the Court should grant the Parties’ joint motion to
15   preliminarily approve the settlement and certify the Ms. L. Settlement Class.
16
17   DATED: October 16, 2023                 Respectfully submitted,
18
19                                           /s/ Lee Gelernt
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                                CERTIFICATE OF SERVICE
 1
 2         I hereby certify that on October 16, 2023, I electronically filed the foregoing with
 3   the Clerk for the United States District Court for the Southern District of California by
 4   using the appellate CM/ECF system. A true and correct copy of this brief has been served
 5   via the Court’s CM/ECF system on all counsel of record.
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